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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    :
JW DOE                              :   CIVIL ACTION
                                    :
            Plaintiff,              :   NO. 20-cv-1321
                                    :
      v.                            :   SECTION “T” (5)
                                    :   GGG-MBN
ARCHDIOCESE OF NEW ORLEANS :
INDEMNITY, INC., et al              :
                                    :
            Defendants.             :
____________________________________:




             EXHIBITS 1-4
          FILED UNDER SEAL
